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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                         )
                Plaintiff,                       )               FILED UNDER SEAL
                                                 )
                   v.                            )       Civil No.
                                                 )
5 REAL PROPERTIES and 40                         )
ACCOUNTS AND INVESTMENTS,                        )
                                                 )
                        Defendants.              )

                        VERIFIED COMPLAINT FOR FORFEITURE IN REM

        The United States of America, by its attorney, Andrew E. Lelling, United States Attorney for

the District of Massachusetts, in a civil action of forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and

981(a)(1)(C), alleges, upon information and belief, that:

                                I.      NATURE OF THE ACTION

        1.       This action is brought by the United States of America seeking forfeiture of all right,

title and interest in the defendant 5 real properties and 40 accounts and investments, as further described

in Exhibit A attached hereto (collectively, the “Defendant Properties”). Except as otherwise noted in

Exhibit A, The Defendant Properties are located in the District of Massachusetts. Attached as Exhibit

B are photographs depicting the 5 defendant real properties.

        2.       The Defendant Properties are property, real or personal, which constitute or are

derived from proceeds of the following violations: 18 U.S.C. § 1347 (Health Care Fraud), 18 U.S.C.

§ 1349 (Conspiracy to Commit Health Care Fraud), 18 U.S.C. § 371 (Conspiracy to Defraud the

United States (Related to a Healthcare Benefit Program)), and 42 U.S.C. § 1320a-7b(b)(2) (Offer and

Payment of Kickbacks). Each of these offenses is a “Federal healthcare offense,” pursuant to 18

U.S.C. § 24(a). In addition, each of these offenses is a “specified unlawful activity” because each is

“any act or activity constituting an offense involving a Federal health care offense.” See 18 U.S.C.

§ 1956(c)(7)(F).
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       3.       The Defendant Properties are also property, real or personal, involved in a transaction

or attempted transaction in violation of 18 U.S.C. § 1956(h) (Conspiracy to Commit Money

Laundering), and 18 U.S.C. § 1957 (Engaging in Monetary Transactions in Property Derived from

Specified Unlawful Activity), and any property traceable to such property.

       4.       The Defendant Properties are subject to forfeiture to the United States pursuant to 18

U.S.C. § 981(a)(1)(C),) as “[a]ny property, real or personal, which constitutes or is derived from

proceeds traceable to a violation of … any offense constituting ‘specified unlawful activity’” and/or,

pursuant to 18 U.S.C. § 981(a)(1)(A) as “[a]ny property, real or personal, involved in a transaction or

attempted transaction in violation of [18 U.S.C. §§ 1956 or 1957], or any property traceable to such

property.”

                             II.      JURISDICTION AND VENUE

       5.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1345 and 1355.

       6.       Venue is proper under 28 U.S.C. § 1395.

                               III.    FACTUAL BACKGROUND

       7.       As described in more detail below, there is probable cause that Arbor Homecare

Services LLC (“Arbor”) and others, including one of its founders Faith Newton (“Newton”),

defrauded government healthcare benefits programs of at least $100 million by failing to train

staff, paying illegal kickbacks, billing for home health services that were never provided or were

not medically necessary, and billing for home health services that were not authorized.

       8.       The proceeds of this fraud scheme were used to purchase real properties, deposited

into bank accounts and other investments, used to fund the lifestyles of Faith Newton and others,

and otherwise laundered and dissipated.




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       A.       THE CRIMINAL PROSECUTION

       9.       On January 28, 2021, a grand jury in the District of Massachusetts returned a 15-

count indictment against Newton and Winnie Waruru (“Waruru”).1 Specifically, the grand jury

found probable cause for the following violations: Conspiracy to Commit Health Care Fraud, in

violation of 18 U.S.C. § 1349 (Count One), Health Care Fraud, in violation of 18 U.S.C. § 1347

(Count Two), Conspiracy to Pay and Receive Kickbacks, in violation of 18 U.S.C. § 371 (Count

Three), False Statements, in violation of 18 U.S.C. § 1001(a)(2) (Counts Four and Five), False

Statements in Health Care Matter, in violation of 18 U.S.C. § 1035(a), Conspiracy to Launder

Monetary Instruments, in violation of 18 U.S.C. § 1956(h) (Count Seven), and Laundering of

Monetary Instruments, in violation of 18 U.S.C. § 1957 (Counts Eight through Fifteen). A copy

of the indictment (the “Indictment”) is attached hereto as Exhibit C.2

       10.      The Indictment included Forfeiture Allegations providing notice of the United

States’ intent to forfeit assets that were the proceeds of, or property involved in, the charged

offenses. See Exhibit C. For assets specifically identified in the Forfeiture Allegations, the grand

jury found probable case that the assets were proceeds of, or property involved, in the commission

of the charged offenses.

       11.      This civil in rem forfeiture complaint names as defendant properties all of the assets

identified in the Forfeiture Allegations of the Indictment, and further names additional assets that

the United States alleges are subject to forfeiture, including assets held in the name of individuals,

trusts, or corporate entities not charged in the Indictment.

       12.      In general, assets may be subject to civil forfeiture, criminal forfeiture, or both.


       1
         Waruru was charged in Counts One through Six. Newton was charged in Counts One
through Three, and Seven through Fifteen.
       2
         At the time of this filing, the Grand Jury returned the Indictment to the District Court,
Under Seal, but the Indictment has not yet been docketed. The United States will replace Exhibit
C with the docketed Indictment.
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       B.        OVERVIEW OF MEDICARE, MEDICAID, AND MASSHEALTH

       13.       The Medicare program (“Medicare”) is a federal health care program that

provides benefits to persons who are over the age of 65 or disabled. Medicaid is a federal and

state-funded health insurance program for children, families, and individuals who fall below

certain income levels, or are disabled. The Commonwealth of Massachusetts’ Medicaid program

is commonly known as “MassHealth.” Medicare and MassHealth are both a “health care benefit

program” as defined by 18 U.S.C. § 24(b).

       14.       Home health agencies, like Arbor, must first be certified to participate in the

Medicare program before becoming a Medicaid provider in Massachusetts. Once Medicare

approves a home health agency, the agency can file a MassHealth enrollment application to

become a Medicaid provider.

       15.       Both Medicare and MassHealth pay for medically necessary home health

services. Medicare and MassHealth authorize payment for home health care only for care

actually provided that was medically necessary (i.e., the services were required because of

disease, disability, infirmity, or impairment). Medicare and MassHealth do not cover services

and treatment that were not actually provided, or for which the patient did not meet the criteria

necessary to justify the claimed service or treatment.

       16.       Home health services are generally defined as services provided to a patient at

his/her place of residence, pursuant to his/her physician’s orders as part of a written plan of care

that the physician reviews every 60 days. Home health agencies typically provide three types of

in-home care: nursing services; home health aide services; and therapy (physical, speech,

occupational).

       17.       To receive home health services, the home health care provider must conduct a

comprehensive assessment of each patient to determine the patient’s eligibility for home health

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care and the level of skilled care required to adequately care for the patient. During that

assessment, the home health care provider is required to gather clinical data, known as an

Outcome and Assessment Information Set (“OASIS”). Such data is typically gathered by a nurse

in a face-to-face visit with the patient and is recorded on a standard OASIS form.

       18.      To certify that services are medically necessary, a physician must sign a Form

CMS-485, Home Health Certification and Plan of Care (“Plan of Care”). The Plan of Care

describes the nature and frequency of the services to be provided to the patient, and the type of

professional who must provide the services. MassHealth home health agencies, like all

MassHealth providers, must comply with MassHealth’s Administrative and Billing Regulations

set forth at 130 Code Mass. Regs. § 450 (2020).

       C.       OVERVIEW OF THE FRAUD SCHEME

       Arbor Formed by Newton and her Husband and Certified for Medicare and MassHealth

       19.      Corporate records from the Secretary of the Commonwealth of Massachusetts

state that Arbor was formed on January 20, 2012, and list Newton as a corporate officer.3

       20.      Arbor was founded as a home health nursing agency by Newton and her husband

Benjamin Muiruri (“Muiruri”).

       21.      Newton is a registered nurse who has worked in the home health care industry

beginning in at least 2002.

       22.      Arbor sought certification for the Medicare Program, which the Centers for

Medicare and Medicaid Services (“CMS”) approved on January 23, 2013. Arbor’s MassHealth

enrollment application was approved on August 7, 2013.




       3
           Newton was removed from the corporate records by amendment in 2014.
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       23.     As described in more detail below, from August of 2013 to January of 2017,

Arbor received more than $162 million from MassHealth’s Medicaid program (which is funded

50 percent by federal funds), and approximately $350,000 from the Medicare program.

       24.     Arbor submitted claims for reimbursement to Medicare and/or Medicaid until

approximately January 2017, at which point MassHealth suspended all payments to the company

based on what MassHealth determined were credible allegations of fraud.

       25.     Newton ran Arbor from its inception until it was closed in 2017.

       Arbor Paid Illegal Kickbacks for Patient Referrals

       26.     Arbor paid illegal kickbacks in the form of $100 bonuses for patient referrals.

       27.     One particularly active patient recruiter was Recruiter 1. Newton paid Recruiter 1

$100 per patient recruited to Arbor. Newton and Recruiter 1 talked about the kickback scheme

in a series of text messages.

       28.     On December 31, 2013, Recruiter 1 texted Newton about her referral bonus:

               Hi dear [Newton] is me [Recruiter 1] when is a good time t see u tomorr to talk
               about business? I have more referrals. However, I like to sign a contrac for the
               bonus ….

Newton responded:

               I can see you tomorrow anytime after 10am will be in the office
               and I have your bonus for patient you refered so you can pick it up
               tomorrow.

       29.     On January 20, 2014, Recruiter 1 texted Newton again:

               I like to up date me of every case I refer please. It to slow. We
               need to sit down bcs I can get u more numbers but until then I will
               stop. I care u. have business but everybody needs to make a profit
               too. Business is. Business beside friendshipping.

       30.     On June 24, 2014, Recruiter 1 and Newton met at a McDonalds restaurant and

Recruiter 1 sent the following:


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                       I am leaving now I need to see around ur office in a
                       confortable place. I dont need noone to see @ ur office.
                       Are not in ur office I like to see u
                       in the donking donuts on bridge st. What u think? ….
                       Ok I am parked in the MCDNALS acros from popyes.

Newton responded, “Ok I’m coming…I’m here in black car[.]”

       31.     In September 2014, Recruiter 1 tried to negotiate additional kickbacks for

bringing former patients back to Arbor:

               If one client was with ur comp then discharged fr x reason I will
               get back with doct’s recomm. Do u pay to reclut her? She will go
               back as new client or I let her go with elder service.

Newton responded “[w]e pay for admission not a recert.”

       Arbor Hired Patient Family Members to Provide Home Health Assistance that Was
       Unauthorized, Not Medically Necessary, or Never Occurred

       32.     Arbor, through Newton and others, developed employment relationships as way

to pay kickbacks for patient referrals, regardless of medical necessity requirements. Arbor,

through Newton and others, entered sham employment relationships with patients’ family

members to provide home health aide (“HHA”) services that were not medically necessary;

routinely billing for fictitious visits that Newton knew did not occur.

       33.     According to Recruiter 1, many of Arbor’s patients did not actually want skilled

nursing visits but signed up to receive skilled nursing services from Arbor so that their family

member could be paid as an HHA. Newton was aware, facilitated, and actively participated in

this fraud scheme to pay kickbacks to patients and their family members in exchange for the

ability to bill Medicare and MassHealth for home health services in excess of $100 million in

HHA claims alone.

       34.     Special Agents interviewed numerous patients of Arbor who reported being

independent in their activities of daily living (ADLs), meaning that they were able to manage

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their own bathing, dressing, grooming, and cooking. These patients reported that Arbor,

nonetheless, hired their family members to provide HHA services to them for ADLs. Many of

these patients also reported receiving substantially fewer nursing visits than what Arbor billed

MassHealth.

          35.   After Arbor was shut down by MassHealth, nurses from another home health

agency assessed several of Arbor’s former patients to determine if the patients required services.

          36.   Special Agents interviewed several nurses from the new home health agency who

reported that many of the patients did not require any services. Those patients that were assessed

by Arbor as requiring a modest amount of skilled nursing visits were often assessed by the new

agency as not requiring HHA services at all.

          37.   Nurses at the new agency also said that many patients demanded extraordinary

amounts of HHA hours for family members upon meeting the nurses before any assessment

could even be performed.

          38.   In addition, several former Arbor patients refused to be admitted to the new

agency. The nurses at the new agency were told by the patients that the patients would find an

agency that would hire their family member as an HHA, like Arbor did. For example, one nurse

reported that when he tried to schedule an assessment with a patient, the nurse was told “[d]on’t

even try to screw up my services. We are all going together to another agency, I need my 6

hours.”

          Arbor Failed to Provide HHAs Required Training and Assessed Patients for More
          Services than Needed

          39.   Arbor hired Recruiter 1 as an HHA. Recruiter 1 was interviewed and reported

that she never underwent the required training to become an HHA. In fact, Recruiter 1 reported

that she only attended a new employee orientation where she was handed the answer key to the

HHA training exams.
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        40.     Former Employees 2, 3, 4 and 5, who were also hired by Arbor as HHAs similarly

reported that Arbor never provided its HHAs the 75 hours of training and certification mandated

by Medicare and MassHealth. Instead Arbor gave newly hired HHAs the answers to the required

tests and/or made inaccurate documentation in their personnel files if any documentation was

missing. Newton’s signature appears on many of the sham HHA certificates, and other training

documents.

        41.     Newton personally performed the assessments of Arbor’s 10 initial patients as

part of Medicare’s accreditation process. A review of those patient records revealed that Newton

initially assessed these patients as needing very little care. Pursuant to Newton’s assessment the

patients’ nursing visits and HHA hours were nominal; typically, requiring 1 to 3 nursing visits a

week, HHA hours were usually 1 to 2 hours a day, a few times a week. Although some of these

patients were quickly discharged, others continued services for years.

        42.     Once Arbor was accredited by Medicare and thereafter enrolled as a MassHealth

provider, billing increased exponentially. On several occasions, Newton discharged and

readmitted the same patient within days. Newton increased the nursing visits to those same

patients to daily, or twice daily.

        43.     Special Agents interviewed a former Arbor employee, Former Employee 2, who

reported that Newton told her Newton always assessed patients as needing two nursing visits a

day because Arbor could make more money that way.

        44.     Of the former patient interviews conducted by law enforcement, nearly all

reported receiving less nursing visits than claimed, and billed, by Arbor.

        45.     Newton manipulated patient OASIS assessments to make it appear as if patients

required home health services when they did not. She enrolled, and caused to be enrolled,

patients who never needed services, or only accepted the services to supplement their income by

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kickbacks or payments to family members hired as HHAs. Newton ignored patient complaints

received by her employees and directed the office staff not to document those complaints in

Arbor’s electronic medical records

        Arbor Paid Illegal Kickbacks to Patients

        46.      One of the nurses who routinely billed for twice daily nursing visits was Waruru,

who was charged with Newton in the Indictment. See Exhibit C.

        47.      Waruru is a Licensed Practical Nurse who was employed at Arbor from 2014

until its closure in January 2017.

        48.      Several of Waruru’s patients were interviewed by law enforcement and they all

reported that Waruru visited them once or twice a week.

        49.      Waruru, however, routinely billed for either daily or twice daily visits for these

same patients. Waruru also created fake nursing notes to conceal her actions.

        50.      In addition, Waruru aided the kickback scheme by paying kickbacks to patients

on behalf of Newton. Specifically, Waruru was interviewed by Agents and admitted that

Newton payed kickbacks to patients to recruit them as part of Arbor’s initial Medicare

certification.

        51.      Thereafter, Newton continued to pay kickbacks to some of those patients by

giving envelopes of cash to Waruru to deliver to those patients. Waruru, in turn, billed for twice

daily nursing visits to these patients and was paid $28 a visit (whether real or manufactured) by

Arbor. From 2014 to 2016 Arbor paid Waruru approximately $450,000, while Waruru was,

allegedly, at the same time working for other home health agencies.

        52.      Newton and Waruru exchanged text messages regarding the payment of

kickbacks to certain patients, and in addition, Newton exchanged text messages regarding

kickbacks with a patient’s girlfriend.

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       53.     After Arbor shut down operations, Newton acquired a pre-existing home care

agency called Golden Living. Claims analysis revealed that several former patients of Arbor,

known to have been paid kickbacks, became patients of the new company.

       54.     Newton either directly or through Arbor appeared to target patients who were

low-income, on disability, and/or suffering from depression and/or addiction. As a home health

nurse with over a decade of experience, Newton was able to not only abuse the system, but did

so by manipulating a vulnerable patient population.

       D.      RECEIPT OF FRAUD PROCEEDS

       55.     From approximately January 1, 2014 through January 31, 2017, Arbor was paid

more than $162 million for medical reimbursements from MassHealth. The individual payment

amounts from MassHealth to Arbor, several each month, ranged from approximately

$320,797.82 in early 2014 to more than $1.7 million in November 2016. During that time,

Newton and Muiruri paid themselves approximately $40 million from Arbor.

       56.     Reimbursement from MassHealth was paid at different rates based on the type of

service provided to a patient and the skill level of the care giver. Payments were primarily

broken out by skilled care which included nursing services provided by medically licensed

nurses, and physical and occupational therapy provided by licensed care givers, and non-skilled

care provided by HHAs, who were trained and certified, but not licensed medically.

       57.     Arbor typically billed MassHealth using five procedure and service codes;

               a.     G0156 - SERV HME HLTH AIDE IN HME HLTH SETNG EA

               b.     G0299 - HHS/HOSPICE OF RN EA 15 MIN

               c.     G0152 - SERV OCCUP THERAPY IN HME HLTH SETNG EA

               d.     G0151 - SERV PHYS THERAPIST IN HOME HLTH SETNG; and

               e.     G0300 - HHS/HOSPICE OF LPN EA 15 MIN.

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          58.        While probable cause exists to believe that Arbor’s fraud involved all of the

types of care Arbor purported to provide, by far the largest area of fraud was with the HHA care,

typically using Code G0156. Probable cause exists to believe that all of the reimbursements to

Arbor for HHA services purportedly rendered during this time period were obtained using

fraudulent representations including representation regarding training of staff, level of care

required, and level of care provided.

          59.      Based upon Arbor’s fraudulent representations, all payments made by MassHealth

for Code G0156 to Arbor constitute proceeds of specified unlawful activity (i.e., Health Care

Fraud).

          60.      Between approximately January 1, 2014 and January 2017 payments attributable

to reimbursement for purported HHA care from MassHealth to Arbor exceeded $99 million, and

comprised the majority of the reimbursements from MassHealth to Arbor during this time period

(more than 60% of MassHealth reimbursements were for purported HHA care).

          E.       DISTRIBUTION OF FRAUD PROCEEDS

          61.      During its operation, and up through at least October 2017, Arbor maintained

three bank accounts at Bank of America, which included

                a. a payroll account 004638037700 (the “7700 Account”),

                b. an operating account 004638037768 (the “7768 Account”), and

                c. a savings account 004638385931 (the “5931 Account”),

(collectively, the “Arbor BOA Accounts”).

          62.      Newton and her husband Muiruri were both listed as signors on all three accounts.

          63.      MassHealth payments were primarily deposited into the 7768 Account.

          64.      Money was transferred from the 7768 Account to the 7700 Account to cover

payroll as needed.

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       65.     Between January 1, 2014 and October 24, 2017 (when the Arbor BOA Accounts

were closed), there were regular transfers among all three of the Arbor BOA Accounts, including

large transfers into the 5931 account. The only deposits into the 5931 Account were transfers

from the 7768 and 7700 Accounts and interest accrued.

       66.     While operational, Arbor paid Newton and Muiruri bi-weekly payroll. From

approximately January 2014 through February 2017 Newton and Muiruri each received payroll

income in excess of $800,000.

       67.     During this same period, additional payments were made from Arbor to Newton

and Muiruri, or for their benefit, from the Arbor BOA Accounts. These payments were primarily

to personal bank accounts controlled by Newton, Muiruri, or members of their family. Payments

were also made directly from Arbor BOA Accounts to purchase assets for Newton, Muiruri, or

members of their family. From approximately 2014 until Arbor closed in 2017, the majority of

Newton and Muiruri’s income came from Arbor.

       68.     Since 2014 Newton and Muiruri maintained bank accounts in their name or under

their control at multiple banks and credit unions, including Digital Federal Credit Union, Jeanne

D’Arc Credit Union, Align Credit Union, Lowell Five Cent Savings Bank, Discover Bank,

Santander Bank, Enterprise Bank, Northern Bank and Trust Company, Citizens Bank and Bank

of America.

       69.     These accounts were used to hold or transfer fraud proceeds, although most of the

funds paid to Newton and Muiruri from the Arbor BOA Accounts went to accounts at Bank of

America that Newton and Muiruri controlled. Newton maintained two accounts at Bank of

America, a checking account 000016539723 (the “9723 Account”) and a savings account

000116539723 (the “9723 Savings Account”). Muiruri maintained two accounts at Bank of




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       77.    Between July 14, 2014 and August 11, 2014 Arbor received approximately

$1,669,673.70 in payments from MassHealth for HHA services (i.e., fraud proceeds) into Arbor

BOA Account 7768. During that same time period approximately $900,000 was transferred

from Arbor BOA Account 7768 to Arbor BOA Account 5931.

       78.    On or around August 13, 2014, Newton withdrew $1,301,701.78 from Arbor

BOA Account 5931 and purchased a cashier’s check, number 1652502359, payable to the Dow

Law Group. The Dow Law Group is the law firm that handled the closing of the property

purchase. Upon purchase, in August 2014, the property was deeded to Newton.

       79.    On or about March 4, 2015, Newton transferred the property through a Quitclaim

Deed to the Newton Family Revocable Trust for consideration of $1. According to the

Quitclaim Deed, Newton and Muiruri are the Trustees for the Newton Family Revocable Trust.

                 b. Real Property located at 440 Great Pond Road, North Andover,
                    Massachusetts, 01845

       80.    On or about October 3, 2016, Newton and Muiruri completed the purchase of 440

Great Pond Road in North Andover for $2,000,000. The purchase of this real property involved

more than $10,000 in fraud proceeds.

       81.    On or about May 16, 2016, $3,500,000 was paid from Arbor BOA Account 7768

to Newton’s personal BOA Account 9723. At least 60% of the $3.5 million constituted fraud

proceeds (i.e., HHA reimbursement from MassHealth). Then, on or about May 26, 2016 Newton

made two transfers from her Personal BOA 9723 checking account to her Personal BOA 9723

savings account, of $2,000,000 and $1,000,000 respectively. These transfers involved fraud

proceeds. Between May 26, 2016 and October 3, 2016, the balance in Newton’s personal BOA

9723 savings account was never below $4,000,000.




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       82.     On or about September 1, 2016, the Manor Realty Trust was created and two

individuals, Lucy C. Munyi and Samuel G. Kimungu, were appointed trustees. Based on

subsequent changes, Newton became the sole beneficiary of the Manor Realty Trust.

       83.     On or about October 3, 2016, $2,012.177.82 was wired from Newton’s personal

BOA 9723 savings account to her attorney. This wire transfer included more than $10,000 of

fraud proceeds and the wire payment was payment of the purchase price for this Defendant

Property, including closing costs.

                  c. Real Property located at 12 Mountain View Drive, Dracut,
                     Massachusetts 01826

       84.     On or about August 20, 2018, Newton completed the purchase of 12 Mountain

View Drive in Dracut, Massachusetts for $337,610. The purchase of this real property involved

more than $10,000 in fraud proceeds.

       85.     In sum, Arbor received fraud proceeds (MassHealth reimbursement for HHA

services), transferred a portion of those fraud proceeds to Muiruri, who then moved those

proceeds from account to account and sent them to Newton, who used those proceeds to

purchase 12 Mountain View Drive.

       86.     Between approximately April 18, 2016 and May 31, 2016, Arbor received

payments from MassHealth into the Arbor BOA 7768 Account, which included fraud proceeds

of at least $6,162,244.

       87.     On or about June 1, 2016, $2,000,000 was wired from Arbor BOA Account 7768

to Muiruri’s BOA Account 6118. On that same date $2,000,000 was transferred from Muiruri’s

BOA Account 6118 Account to the Muiruri’s BOA Savings Account 6118. Each of these

transfers included more than $10,000 in fraud proceeds. Between June 1, 2016 and March 26,

2018, the balance of Muiruri’s BOA 6118 Savings Account never dropped below $1,400,000.



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       88.    On or about March 26, 2018, Muiruri opened two bank accounts at Northern

Bank and Trust Company, a Money Market Account 6527860700 (the “Defendant 0700

Account”) and Checking Account 7689065100 (the “5100 Account”) (each described in Section

mm below).

       89.    On or about March 26, 2018, Muiruri transferred $1,961,058.35 from Muiruri’s

BOA Savings Account 6118 to Muiruri’s BOA Checking Account 6118. The following day,

$1,950,000 was paid from Muiruri’s BOA Checking Account 6118 to Muiruri’s Defendant 0700

Account. This transfer included in excess of $10,000 of fraud proceeds.

       90.    In and around August 6 and 7, 2018, $600,000 was transferred from Muiruri’s

Defendant 0700 Account to his 5100 Account, in transfers of $150,000 and $450,000. Each

transfer included more than $10,000 in fraud proceeds.

       91.    Then in and around August 6 and 10, 2018, $600,000 was paid to Newton in

check payments of $150,000 and $450,000 respectively from Muiruri’s 5100 Account, which

were then deposited to Newton’s personal BOA 9723 Account. On or about August 20, 2018,

$347,074.21 was wired from Newton’s personal BOA 9723 Account to the IOLTA account of

Holler Law Firm. Records supplied by the Holler Law Firm confirm that this payment was used

to purchase 12 Mountain View Drive, and the property was deeded to Newton.

                 d. the real property located at 18-20 Middle Street in Dracut,
                    Massachusetts

       92.    In December 2016, Muiruri completed the purchase of 18-20 Middle Street in

Dracut, Massachusetts for $375,000.

       93.    On or about April 4, 2004, Muiruri opened checking account 5169084–5 (the

“Defendant 9084-5 Account”) (see section kk below) and linked savings account 5169084-1 (the

“Defendant 9084-1 Account”) (see section jj below). Muiruri is the signor on both accounts.



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       94.    On or about February 10, 2015, Muiruri transferred by check $50,000 from his

personal BOA 6118 Account to the Defendant 9084-1 Account. This transfer included more

than $10,000 of fraud proceeds. Then on June 26, 2015 Newton paid Muiruri $27,000 by check

from her personal BOA 9723 Account, which was deposited into the Defendant 9084-1 Account.

This transfer also included more than $10,000 of fraud proceeds.

       95.    Between June 26, 2015 and September 21, 2016, the balance in the Defendant

9084-1 Account was never less than $72,000. On or about September 21, 2016, Muiruri

transferred $30,000 from the Defendant 9084-1 Account to the Defendant 9084-5 Account. This

transfer included more than $10,000 of fraud proceeds.

       96.    Then, on or about October 3, 2016, Muiruri paid Remax Insight $3,000 by check

from the Defendant 9084-5 Account. On or about October 21, 2016, Muiruri paid Remax Insight

$10,000 by check from the Defendant 9084-5 Account.

       97.    On or about December 5, 2016, Muiruri withdrew $89,947.68 from his personal

BOA 6118 Savings Account to purchase Cashier’s Check 1652506502 Payable to the Duffy Law

Group. This purchase included more than $10,000 of fraud proceeds. Each of the above-

described payments, $3,000, $10,000 and $89,947.68 were deposits and payments for the

purchase of 18-20 Middle Street in Dracut and were traceable to property involved in money

laundering and fraud proceeds.

                 e. the real property located at 3 Courthouse Lane, Units 12, Chelmsford,
                    Massachusetts

       98.    On or about June 19, 2015, Muiruri purchased an office condo located at 3

Courthouse Lane, Unit 12, in Chelmsford, Massachusetts for $123,000 and used more than

$10,000 of fraud proceeds to do so.




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       99.    On or about June 10, 2015, Muiruri and Newton signed a Standard Purchase and

Sales Agreement to purchase the real property. On or about that same date, they paid $4,000 to

Attorney Robert Wyman, with a check from Arbor BOA Account 7768.

       100.   Then, on or about June 19, 2015, Muiruri signed the Settlement Statement (HUD-

1) to complete the purchase, listing the buyer as Benjamin Njorogeh Muiruri, Member/Manager

of Arbor Homecare Services LLC. Including closing costs, Muiruri paid $121,761.99 with a

check drawn on Arbor BOA Account 7768, and which included more than $10,000 of fraud

proceeds.

                 f. American Equity Investment Life Insurance Annuity account number
                    1107785, with a purchase price of $500,000, held in the name of Faith
                    Newton

       101.   On or about April 2, 2015, Newton purchased a Life Insurance Annuity from

American Equity Life Insurance Co. with an investment of $500,000. This purchase involved

more than $10,000 in fraud proceeds

       102.   On or about March 23, 2015, Arbor received a payment from MassHealth into the

Arbor BOA 7768 Account, which included fraud proceeds of at least $598,037.90. In or around

the same day, $500,000 was transferred from Arbor BOA 7768 Account to Arbor BOA Account

5931. On or about April 6, 2015, $565,000 was transferred from the 5931 Account to Newton’s

personal BOA 9723 Account. This transfer included more than $10,000 of fraud proceeds.

       103.   On or about April 2, 2015, Newton completed an individual annuity application in

her name with American Equity Life Insurance Co. and purchased a Bonus Gold Annuity,

Account 1107785, in the amount of $500,000. Newton purchased the annuity with a check

drawn on her personal BOA 9723 Account.




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                 g. all funds on deposit in Charles Schwab 529 Plan account number
                    718188648-01, held in the name of Faith Newton FBO [Minor Child 1]

       104.   Between January 1, 2014 and October 30, 2017, payments in excess of $280,000

were made directly from the Arbor BOA Account 7768 to fund two Individual 529 Plan accounts

at Charles Schwab. The funding of these accounts involved traceable fraud proceeds.

       105.   In or around July 25, 2007, Newton opened an Individual 529 Account

71818864801 (the “Defendant 4801 Account”) at Charles Schwab in the name Faith Newton,

FBO, [Minor Child 1]. On January 1, 2014, the balance in Defendant 4801 Account was

$12,984.40. Between January 1, 2014 and October 31, 2017, there were regular monthly

payments made to Defendant 4801 Account from the Arbor BOA Account 7768. During this

time period, approximately $102,200 was deposited into Defendant 4801 Account from Arbor.

                 h. all funds on deposit in Charles Schwab 529 Plan account 715255386-01
                    in the name of Benjamin Muiruri, FBO [Minor Child 2]

       106.   In or around January 16, 2006, Muiruri opened an Individual 529 Account

71525538601 (the “Defendant 8601 Account”) at Charles Schwab in the name Benjamin

Muiruri, FBO [Minor Child 2]. On January 1, 2014, the balance in Defendant 8601 Account was

$10,059.06. Between January 1, 2014 and October 31, 2017, there were regular monthly

payments made to Defendant 8601 Account from the Arbor BOA Account 7768. During this

time period, approximately $178,200 was deposited into Defendant 8601 Account. The funding

of these accounts involved traceable fraud proceeds.

                 i. all funds on deposit in at Digital Federal Credit Union account number
                    5153823-5 held in the name of Faith Newton

       107.   In or around October 15, 2003, Newton opened two accounts at Digital Federal

Credit Union, Savings Account 5153823-1 (the “Defendant 3823-1 Account”) and Checking

Account 5153823-5 (the “Defendant 3823-5 Account”). In approximately March 2017, Newton

also opened another savings account 5153823-2 (the “Defendant 3823-2 Account”).

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       108.    In sum, Newton used more than $10,000 of fraud proceeds to purchase a Maserati

sports car, which she later sold and deposited the net proceeds of that sale into the Defendant

3823-5 Account.

       109.    Between approximately June 20, 2016 through August 29, 2016 Arbor received

approximately $8,457,637 in fraud proceeds from MassHealth into the Arbor BOA Account

7768. On or around July 12, 2016 there were three transfers of $999,999.99 each from the Arbor

BOA Account 7768 into the Arbor BOA Account 5931. Then on or about August 8 and 29,

2016, there were two more transfers in the amount of $999,999.99 each. Between August 29,

2016 and January 12, 2017, the balance in Arbor BOA Account 5931 was always more than

$5,958,704.34.

       110.    On or around September 15, 2016, $2,000,000 was wired from the Arbor 7768

Account to Newton’s Personal BOA 9723 Account. On or about October 3, 2016, Newton

purchased a 2013 Maserati Granturismo bearing Vehicle Identification Number

ZAM45VMA0D0072451. Newton paid the seller, who also sold the Defendant Real Property at

440 Great Pond Road (described in section b above) to Newton, in three payments totaling

$90,000. These three payments also included $10,000 towards the purchase of fountains located

at that Defendant Real Property. The three checks were in the amounts of $10,000, $30,000 and

$50,000 respectively and were paid from Newton’s Personal BOA 9723 Account. For example,

the following is an image of the check for $50,000 with Memo line stating “Balance on

Maserati”:




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       111.    Then, on or about August 19, 2020, Newton sold the 2013 Maserati to Harr Motor

Company for $49,000. Newton received a check from Harr Motor Company and deposited that

check into the Defendant 5153823-5 Account.

       112.    On or about August 31, 2015, Newton purchased a business condominium at 3

Courthouse Lane, Unit 4 in Chelmsford, Massachusetts for $90,000. The purchase of this real

property involved more than $10,000 in fraud proceeds.

       113.    On or about August 15, 2015, Newton signed a purchase and sale agreement to

purchase the business condominium at 3 Courthouse Lane, Unit 4 in Chelmsford. On or about

August 24, 2015, Arbor received at least approximately $703,763.10 in fraud proceeds from

MassHealth into Arbor BOA Account 7768. Then, on or about August 31, 2015 check 1561

from the Arbor BOA Account 7768, was paid to Attorney John K Leslie in the amount of

$90,200.

       114.    On or about September 19, 2020, Newton signed a Standard Form Condominium

Purchase and Sale Agreement where she agreed to sell 3 Courthouse Lane, Unit 4, in Chelmsford

for $99,900.00. A Settlement Statement dated October 30, 2020 documents the completed sale.

After closing costs and real estate fees, Newton received approximately $71,381.95 via a check

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from the closing attorney. On or about November 7, 2020, Newton deposited the $71,381.95

into the Defendant Digital Credit Union 3823-5 Account. These funds involved more than

$10,000 in fraud proceeds.

                   j. all funds on deposit in Digital Federal Credit Union savings account
                      number 5153823-1 held in the name of Faith Newton

       115.      On or about January 12, 2017, $4,000,000 was transferred from the Arbor BOA

Account 5931 to the Arbor BOA Account 7700, then $2,000,000 was transferred from the Arbor

BOA Account 7700 to Newton’s Personal BOA 9723 Account. This transfer contained more

than $10,000 in fraud proceeds. Between January 12, 2017 and March 20, 2017, the balance in

the 9723 Account was never less than $1,000,000.

       116.      On or about March 20, 2017, Newton transferred $50,000 by check from her

personal BOA 9723 Account to the Defendant 3823-1 Account.

                   k. all funds on deposit in Digital Federal Credit Union savings account
                      number 5153823-2 held in the name of Faith Newton

       117.      In and around November 2017 and January 2018, Newton purchased 18 & 20

Mill Street in Dracut, Massachusetts. Both properties are part of the same condominium trust,

but purchased separately. The purchase of this real property involved more than $10,000 in

fraud proceeds

       118.      In or around October 26, 2016, $2,100,000 was transferred from the Arbor BOA

Account 5931 to Newton’s Personal BOA 9723 Savings Account. This transfer included more

than $10,000 of fraud proceeds. Between October 26, 2016 and December 28, 2017, the balance

of Newton’s Personal BOA 9723 Savings Account was always greater than $2,900,000.

       119.      On or about February 7, 2017, Eleanor Connors (“Connors”) opened a bank

account at Enterprise Bank, account 881902 (the “1902 Account”) in the name of Manor Realty

Trust. As described in paragraph 82 above, Newton is the sole beneficiary of the Manor Realty


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Trust. On or about May 11, 2017, Connors opened another account in the name of Manor Realty

Trust, account 896324 (the “6324 Account”).

       120.      In or around October 26, 2017 Newton transferred $100,000 by check from her

personal BOA 9723 Account to the Defendant 6324 Account. On or about November 7, 2017,

$3,375.00 was paid from the Defendant 6324 Account to Elite Title and Closing Service LLC

(“Elite Title”). On or about November 30, 2017, $116,069.01 was wired from Newton’s

Personal BOA 9723 Savings Account to Elite Title. Records obtained from Elite Title confirm

that both payments were for the purchase of 20 Mill Street in Dracut for $112,500.00 plus

closing costs.

       121.      On or about November 28, 2017, Newton withdrew funds from her personal BOA

9723 Account to purchase a cashier’s check for $5,000.00 payable to Newton, which was

endorsed and paid to Harmon Law Offices, PC. Then on or about December 28, 2017, $162,000

was withdrawn from Newton’s personal BOA 9723 Savings Account to purchase cashier’s check

1442606924, which was payable to Harmon Law Offices, PC. Records obtained from the

Harmon Law Offices, PC confirm that on or about January 5, 2018 Newton closed the purchase

of 18 Mill St, Unit 18, in Dracut, Massachusetts at Auction for $167,000.

       122.      Then, on or about April 12, 2019, Newton sold 18-20 Mill St, Unit 20 for

$243,000.00 resulting in net proceeds of $212,111.19. Newton received the net proceeds from

Eliopoulos & Eliopoulos PC, the law firm that handled the closing and Newton deposited the net

proceeds into the 3823-2 Account at Digital Federal Credit Union. This deposit included more

than $10,000 traceable to fraud proceeds.

       123.      On or about April 16, 2019, Newton sold 18-20 Mill St, Unit 18 for $243,000.

The proceeds of the sale after closing costs was $223,205.69, which was paid to Newton by

Harrington Buck PC, the law firm that handled that closing. Newton deposited the funds into the

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Defendant 3823-2 Account at Digital Federal Credit Union. This deposit included more than

$10,000 traceable to fraud proceeds.

                  l. all funds on deposit in Northern Bank & Trust Company account
                     number 7908774400 held in the name of Careplus Medical Transport
                     LLC

         124.   On or about July 16, 2014, Newton organized Careplus Medical Transport LLC.

Newton is listed as the sole Managing Member. On or about March 22, 2017, Newton opened

account 7908774400 (the “Defendant Account 4400”) in the name of Careplus Medical

Transport LLC at Northern Bank & Trust Company and is the only signer on the Defendant 4400

Account.

         125.   As previously noted, Newton received approximately $18,196,000 in direct

payments from Arbor into her personal BOA 9723 and personal BOA 9723 Savings Account,

with more than 60% of these funds derived from the fraud, between January 1, 2014 and July 31,

2017. On and around March 30, 2017 and April 13, 2017, Newton made two payments of

$1,000,000 each from her personal BOA 9723 Account to the Defendant 4400 Account. The

balance in the Defendant 4400 Account on April 13, 2017 was over $2,000,000, and between

April 13, 2017 and August 31, 2020 Newton made transfers out of the 4400 Account discussed

below.

                  m. all funds on deposit in Northern Bank & Trust Company account
                     number 8084857500 held in the name of Faith Newton, Trustee in
                     Trust for [Minor Child 2], Beneficiary, [Minor Child 1], Beneficiary

         126.   On or about December 3, 2019, Newton opened Account 8084857500 (the

“Defendant 7500 Account”), titled Faith Newton Trustee, in Trust for [Minor Child 1],

Beneficiary, [Minor Child 2], Beneficiary. On or about December 3, 2019, Newton transferred

$1,068,650.70 from the Defendant 4400 Account to the Defendant 7500 Account. On or about

December 3, 2019, Newton transferred $1,931,349.30 from Defendant 9700 Account (see


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section n immediately below) to the Defendant 7500 Account. Each transaction involved more

than $10,000 of fraud proceeds.

                 n. all funds on deposit in Northern Bank & Trust Company account
                    number 8085909700 held in the name of Faith Newton

       127.    On or about March 26, 2018, Newton opened Account 8085909700 (the

“Defendant 9700 Account”) in her name. In or around March 27, 2018 Newton transferred

$20,000 by check to the Defendant 9700 Account from her personal BOA 9723 Account. On or

about March 28, 2018, Newton transferred $2,000,000 by check to the Defendant 9700 Account

from her personal BOA 9723 Account. Each transaction involved more than $10,000 of fraud

proceeds. On or about December 3, 2020, $680,000 was transferred from the Defendant 7500

Account to the Defendant 9700 Account.

                 o. all funds on deposit in Citizens Bank account number 1338331946 held
                    in the name of Faith Newton

       128.    On or about June 19, 2018, Newton opened two bank accounts at Citizens Bank in

her name, a Checking Account 1338331946 (the “Defendant 1946 Account”) and a Money

Market Account 1338331997 (the “Defendant 1997 Account”). Newton deposited $500 into

each account with a $1,000 check drawn on her personal BOA 9723 Account.

       129.    On or about January 29, 2019, Newton deposited Cashier’s Check 1442608827

into her new accounts at Citizens Bank. Of the funds in the Cashier’s Check, $20,000 was

credited to the 1946 Account and $70,371.62 was credited into the 1997 Account.

       130.    The contents of Cashier’s Check 1442608827 included more than $10,000 of

fraud proceeds and funds traceable to fraud proceeds. The cashier’s check was purchased on or

about January 2, 2019, with the closing of another of Newton’s accounts at Bank of America, in

the name Careplus Homehealth Inc., which was itself funded with more than $10,000 of

proceeds of the fraud described herein.


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                 p. all funds on deposit in Citizens Bank savings account number
                    1338331997 held in the name of Faith Newton

       131.   As described above, on or about June 19, 2018, Newton opened two bank

accounts at Citizens Bank in her name, the Defendant 1946 Account and the Defendant 1997 On

or about January 29, 2019, $70,371.62 was credited into the 1997 Account from Cashier’s Check

1442608827. On or about January 8, 2020, $1,037,777.31 was transferred to the Defendant 1997

Account from an 18 Month Certificate of Deposit at Citizens Bank, itself funded with more than

$10,000 of proceeds of the fraud described herein.

                 q. all funds on deposit in Citizens Bank investment account number
                    N6M-329427 held in the name of Faith Newton

       132.   On or about February 14, 2020, Newton opened Brokerage Account N6M-329427

(the “Defendant 9427 Account”) at Citizens Bank. On or about February 19, 2020, Newton

transferred $800,000 from the Defendant 1997 Account, described in section p above, to the

newly opened Defendant 9427 Account. This transfer involved more than $10,000 traceable to

fraud proceeds. Since the Defendant 9427 Account was opened no other deposits or withdrawals

have been made in the account.

                 r. all funds on deposit in Citizens Bank account number 1338848825 held
                    in the name of Careplus Medical Transport LLC

       133.   On or about January 28, 2019, Newton opened three bank accounts at Citizens

Bank in the name of Careplus Medical Transport LLC, account 1338848795 (the “Defendant

8795 Account”), account 1338848728 (the “Defendant 8728 Account”), and account

1338848825 (the “Defendant 8825 Account”). Newton is the only signer listed for all three

accounts.

       134.   On or about January 28, 2019, Newton closed her personal BOA 9723 Savings

Account, which contained fraud proceeds, and purchased a Cashier’s Check for $22,867.63,

which was deposited into the three newly opened Careplus Medical Transport LLC accounts at

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Citizens Bank. Of the funds included in the cashier’s check, $5,000.00 was credited to the

Defendant 8728 Account, $10,000 was credited to the Defendant 8795 Account and $7,867.63

was credited to the Defendant 8825 Account.

                 s. all funds on deposit in Citizens Bank account number 1338848795 held
                    in the name of Careplus Medical Transport LLC

       135.   As described in section r, above, Newton opened Defendant Account 8795 on or

about January 28, 2019 when $10,000 was credited to this account. On or about February 13,

2019, Newton deposited Cashier’s Check 1442608891 for $16,897.70 into the Defendant 8795

Account. Cashier’s Check 1442608891, which included more than $10,000 of fraud proceeds,

was purchased with funds from another of Newton’s accounts at Bank of America, in the name

Careplus Medical Transport LLC, which was itself funded with more than $10,000 of fraud

proceeds.

                 t. all funds on deposit in Citizens Bank account number 133884-872-8
                    held in the name of Careplus Medical Transport LLC

       136.   As described in section r above, Newton opened Defendant 8728 Account on or

about January 28, 2019 using $5,000 of a $22,867.63 cashier’s check containing more than

$10,000 of fraud proceeds.

                 u. all funds on deposit in Citizens Bank checking account number
                    133884-869-8 held in the name of Golden Living Homecare Inc.

       137.   On or about July 27, 2018, Newton and Connors purchased Medicol Inc. for

$350,000 from Rose Tabe and George O. Akinkuoye. A corporate amendment filed with the

Massachusetts Secretary of State appointed Newton as the new president and registered agent for

Medicol Inc. On or about August 14, 2018, another amendment filed with the Massachusetts

Secretary of State changed the name of Medicol to Golden Living Homecare Inc.




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       138.    On or about January 28, 2019, Newton opened a bank account at Citizens Bank in

the name of Golden Living Home Care Inc, 1338848698 (the “Defendant 8698 Account”).

Newton is the only signer listed on the account.

       139.    On or about July 12, 2019, $100,000 was transferred from the Defendant 1997

Account, described in section p above, to the Defendant 8698 Account. As described above, the

contents of the Defendant 8698 Account were themselves traceable to proceeds of the fraud and

the July 12, 2019 deposit also included more than $10,000 of fraud proceeds.

                 v. all funds on deposit in Citizens Bank investment account number
                    N6M-329852 at in the name of Faith Newton Custodian [Minor Child
                    1] UTMA

       140.    On or about April 9, 2019, Newton opened two Citizens Bank Investment

Brokerage Accounts, Account N6M-329852 (the “Defendant 9852 Account”), and Account

N9M-051584 (the “Defendant 1584 Account”). Each of these accounts are named Faith N.

Newton, Cust for [Minor Child 1] UTMA.

       141.    On or about April 10, 2019, $100,000 was transferred from the 6227 Account to

the Defendant 9852 Account as the initial deposit into the account. The funds used to fund

Defendant 9852 Account were traceable to fraud proceeds from an Arbor BOA Account used to

purchase real property in Lowell, Massachusetts, as well as fraud proceeds that were paid to two

bank accounts in the name of Minor Child 1. In January 2016, that Lowell property was

purchased using more than $10,000 of traceable fraud proceeds. In April 2017, the Lowell

property was sold and the net proceeds of the sale, as well as a subsequent payment on a loan

Newton extended the buyer, were deposited into an account that was later liquidated and its

contents ultimately used to fund this Defendant Account. The Minor Child 1 bank accounts were

funded with payments from an Arbor BOA account and Newton’s 9723 Account using more

than $10,000 of traceable fraud proceeds.


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                  w. all funds on deposit in Citizens Bank investment account number
                     N9M-051584 held in the name of Faith Newton Custodian [Minor
                     Child 1] UTMA

       142.    As described in section v above, on or about April 9, 2019, Newton opened

Defendant 1584 Account. On or about April 11, 2019, $100,000 was transferred to the

Defendant 1584 Account as the initial deposit into the account. These funds were also traceable

fraud proceeds and property involved in money laundering in the same manner as the funds

described in paragraph 141 immediately above.

                  x. all funds on deposit in Citizens Bank account 1339358724, held in the
                     name of the Newton Family Trust

       143.    In or around March 22, 2019 Newton opened Account 1339358724 (the

“Defendant 8724 Account”) at Citizens Bank in the name Newton Family Living Trust UTD

12/29/2014, Faith Newton, Trustee, Benjamin Muiruri Trustee. The opening deposit to the

Defendant 8724 account was Cashier’s Check 220001328 in the amount of $403,346.01 from an

Align Credit Union account, itself funded with more than $10,000 in fraud proceeds. The Align

Credit Union account was opened on or about December 9, 2014 with a $200,000 from an Arbor

BOA Account and another $200,000 traceable to Arbor proceeds was later deposited in the

account.

                  y. Security Benefit Life Insurance Company, fixed annuity contract
                     number 9450014217, held in the name of the Newton Family Trust

       144.    On or about March 25, 2019, Newton and Muiruri opened Investment Account

N6M329751 (the “9751 Account”) in the name Newton Family Trust, with Newton and Muiruri

listed as the Trustees and only signers on the account. The opening of the 9751 Account also

included the application to purchase two annuities through the account, the Defendant 4217

Account and Defendant 2754 Account.




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       145.   On or about April 10, 2019, $100,000 was transferred from the 8724 Account,

described in paragraph 143, to the 9751 Account to fund a $100,000 Fixed Annuity Contract,

Defendant 4217, which was purchased from Security Benefit Life Insurance Company.

                 z. Forethought Life Insurance Company, Index Annuity contract
                    7380012754, held in the name of the Newton Family Trust

       146.   On or about April 3, 2019, $300,000 was transferred from the 8724 Account,

described in paragraph 143, to the 9751 Account to fund a $300,000 Indexed Annuity Contract,

Defendant 2754, which was purchased from Forethought Life Insurance Company.

                 aa. all funds on deposit in Citizens Bank account number N6M-329958,
                     held in the name of [Minor Child 2]

       147.   On or about April 19, 2019, [Minor Child 2] opened two investment brokerage

accounts at Citizens Bank, account N6M329958 (the “Defendant 9958 Account”) and account

N9M051641 (the “Defendant 1641 Account”). On or about April 22, 2019, the Defendant 9958

Account was funded with $100,000 from another account which was itself previously funded

with funds traceable to Newton’s personal 9723 BOA Account and an Arbor BOA Account,

including more than $10,000 of fraud proceeds. Since the initial investment of $100,000 there

have been no other deposits or withdrawals.

                 bb. all funds on deposit in Citizens Bank account number N9M-051641,
                     held in the name of [Minor Child 2]

       148.   On or about April 22, 2019, the Defendant 1641 Account was funded with

$100,000 from another account which was itself previously funded with funds traceable to

Newton’s personal 9723 BOA Account and an Arbor BOA Account, including more than

$10,000 of fraud proceeds. Since the initial investment of $100,000 there have been no other

deposits or withdrawals.




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                 cc. all funds on deposit in Equitrust Life Insurance account number
                     EQ0001230812F, held in the name of Ben Muiruri

       149.   On or about April 2, 2015, Muiruri purchased Market 12 Bonus Index Annuity

Contract EQ0001230812F from Equitrust Life Insurance Company (the “Defendant Equitrust

Account”), with an initial premium of $250,000. The Defendant Equitrust Account was

purchased with a $250,000 check from Muiruri’s Personal BOA 6118 Account, which included

more than $10,000 of fraud proceeds.

                 dd. all funds on deposit in Fidelity & Guaranty Life account number
                     L9297768, held in the name of Ben Muiruri

       150.   On or about April 2, 2015, Muiruri also purchased a $250,000 Performance Pro

Annuity Contract L9297768 from Fidelity Guaranty Life Insurance Company (the “Defendant

Performance Pro Contract”). The Defendant Performance Pro Contract was also purchased with

a $250,000 check from Muiruri’s Personal BOA 6118 Account, which included more than

$10,000 of fraud proceeds.

                 ee. all funds on deposit in Discover Bank account number 7004842391,
                     held in the name of Ben Muiruri

       151.   On or about January 20, 2016, Muiruri opened Online Savings account

7004842391 (the “Defendant 2391 Account”) at Discover Bank in his name. To open the

account, he made a $50,000 transfer from his personal BOA 6118 Account, and the transfer

included more than $10,000 of fraud proceeds. After the initial deposit of $50,000, Muiruri

made weekly transfers of $2,000 from his personal BOA 6118 Account to the Defendant 2391

Account, totaling $70,000. Since the opening of the Defendant 2391 Account the only other

deposits have been regular monthly deposits of interest. The only withdrawal was a $10,000

wire transfer to Muiruri’s DCU 9084-5 Account (Defendant 9084-5 Account, see Section kk

below).



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                  ff. all funds on deposit in American Express High Yield account number
                      320002652333, held in the name of Ben Muiruri

       152.    On or about May 16, 2016, Muiruri opened High Yield Savings Account

320002652333 (the “Defendant 2333 Account”) with American Express. Muiruri is the only

signer on the account. The Defendant 2333 Account was funded on the same day with a

$100,000 transfer from his personal BOA 6118 Account, and the transfer included more than

$10,000 of fraud proceeds.

                  gg. all funds on deposit in American Equity Investment Life Insurance
                      account number 1220173, held in the name of the BNM Family
                      Irrevocable Trust

       153.    In or around October 25, 2016, Muiruri purchased Annuity Contract 1220173,

from American Equity Investment Life Insurance Company, in the name of the BNM Family

Irrevocable Trust. Muiruri paid $200,000 by check from his personal BOA 6118 Account,

which included more than $10,000 in fraud proceeds. In or around October 18, 2017, Muiruri

paid another $200,000, by a cashier’s check, to increase the value of Contract 1220173. The

$200,000 was drawn on his Defendant 9084-1 Account, described in section jj below, and

included more than $10,000 of fraud proceeds. Muiruri is the only beneficiary on the contract.

                  hh. all funds on deposit in Equitrust Life Insurance, account number
                      EQ0001294887L held in the name of the BNM Family Irrevocable
                      Trust

       154.    On or about October 27, 2017, Muiruri applied for a Wealthmax Bonus Life

Insurance policy from Equitrust Life Insurance Policy, Policy EQ0001294887L, with a premium

of $300,000.

       155.    On or about January 12, 2018, Muiruri wrote a check for $300,000 to Equitrust

Life Co., which paid for Policy EQ0001294887L. The $300,000 check was drawn on his

Defendant 9084-5 Account, described in section kkbelow, and included more than $10,000 of

fraud proceeds.

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                     ii. all funds on deposit in Santander Bank account number 3572360951,
                         held in the name of the BNM Family Irrevocable Trust

       156.     On or about November 28, 2016, Peninnah Muiruri, as Trustee, opened checking

account 3572360951 (the “Defendant 0951 Account”) at Santander Bank, titled BNM Family

Irrevocable Trust, with an opening deposit of $50,000. The $50,000, a check, was drawn on

Muiruri’s Personal BOA 6118 Account and included more than $10,000 of fraud proceeds.

Since that deposit, the only transactions in the account have been small monthly bank fee

withdrawals.

                     jj. all funds on deposit in Digital Federal Credit Union account number
                         5169084-1, held in the name of Ben Muiruri

        157. On or about February 10, 2015, Muiruri transferred $50,000 by check from his

Personal BOA 6118 Account to the Defendant 9084-1 Account, which included more than

$10,000 of fraud proceeds. Then on or about June 26, 2015, Newton paid Muiruri $27,000 by

check from her Personal BOA 9723 Account, which included more than $10,000 of fraud

proceeds and was also deposited into the Defendant 9084-1 Account.

              158.       On September 21, 2016 Muiruri transferred $30,000 from the 9084-1

Account to the 9084-5 Account.

              159.       On or about September 5, 2017, Muiruri transferred $600,000 by check

from his personal BOA 6118 Account to the Defendant 9084-1 Account. This transfer included

more than $10,000 of fraud proceeds. Of the $600,000, Muiruri used $500,000 to purchase an

annuity and a life insurance policy, as explained in Sections gg and ff above. After these

purchases, $100,000 remained in the account. During this same time period, $71,950 was

transferred from the Defendant 9084-1 Account to the Defendant 9084-5 Account.




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                 kk. all funds on deposit in Digital Federal Credit Union account number
                     5169084-5, held in the name of Ben Muiruri

       160.    On or about September 21, 2016, Muiruri transferred $30,000 from the Defendant

9084-1 Account to the Defendant 9081-5 Account. The transfer included more than $10,000 of

fraud proceeds. On or about September 10, 2019, Muiruri transferred by wire $10,000 from the

Defendant 2391 Account, described in Section ee above, to the Defendant 9084-5 Account. This

transfer included traceable fraud proceeds.

       161.    In addition, on or about January 12, 2018, Muiruri transferred $300,000 from the

Defendant 9084-1 Account to the Defendant 9084-5 Account. This transfer included more than

$10,000 of fraud proceeds. After these funds arrived in the Defendant 9084-5 Account, they

were used to purchase the Defendant Equitrust Life Co. policy described in section hh above.

       162.    Between January 13, 2018 and September 2020, the balance in the 9084-5

Account was always positive. During this same time period, there were transfers from the 9084-

1 Account to the 9084-5 Account that totaled $71,950.

                 ll. all funds on deposit in Jeanne D’Arc Credit Union account number
                     9999953731, held in the name of Ben Muiruri

       163.    On or about May 4, 2011, Muiruri opened Money Market Savings account

9999953731 (the “Defendant 3731 Account”) at Jeanne D’Arc Credit Union. Muiruri is the only

signer listed on the account. There was minimal activity in the account prior to 2015.

       164.    On or about January 31, 2015, the balance in the Defendant 3731 Account was

$4,124.78. On or about February 10, 2015, Muiruri deposited $50,000 into the Defendant 3731

Account by check, paid from his Personal BOA 6118 Account, and which included more than

$10,000 of fraud proceeds.

       165.    On or about May 5, 2015, Muiruri transferred $10,000 from his personal BOA

6118 Account to the Defendant 3731 Account. These were the only two deposits to the


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Defendant 3731 Account, except for monthly deposits of earned interest, and the only

withdrawals were $4,000 and $5,000 cash withdrawals in 2015 and 2016. On or about

November 30, 2020, the balance in the Defendant 3731 Account was $57,109.62, traceable to

two transfers, one in excess of $10,000, of fraud proceeds from Muiruri’s personal BOA 6118

Account.

               mm. all funds on deposit in Northern Bank and Trust Company account
                   number 6527860700, held in the of name Ben Muiruri

       166.    On or about March 26, 2018, Muiruri opened two bank accounts at Northern

Bank and Trust Company, a Money Market Account 6527860700 (the “Defendant 0700

Account”) and Checking Account 7689065100 (the “5100 Account”). On that same date,

Muiruri transferred $1,961,058.35 from his Personal BOA 6118 Savings Account to his Personal

BOA 6118 Account. This transfer included more than $10,000 of fraud proceeds. On March 27,

2018, Muiruri made an initial deposit of $1,950,000 into the Defendant 0700 Account through a

check drawn on his Personal BOA 6118 Account. This transaction included more than $10,000

of fraud proceeds.

       167.    It should be noted that the 5100 Account has a minimal balance remaining and is,

therefore, not included as a Defendant Account.

       168.    Between March 27, 2018 and November 30, 2020, Muiruri made frequent

transfers to the 5100 Account and wired funds to third parties outside of the United States, in

Kenya.5




       5 Between Newton and Muiruri, approximately $13,035,282.37 was transmitted from the
United States to Kenya. That money has not been recovered.
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                   nn. all funds on deposit in Citizens Bank account number 1338844854,
                       held in the name of Ben Muiruri

       169.     On or about June 13, 2018, Muiruri opened Money Market Account 1338844854

(the “Defendant 4854 Account”) at Citizens Bank. He is the only signer listed on the account.

       170.     As described above, on or about March 27, 2018, Muiruri transferred

$1,950,000.00 from his Personal BOA 6118 Account to open the Defendant 0700 Account at

Northern Bank and Trust Company. On or about June 20, 2018, Muiruri transferred $800,000

from the Defendant 0700 Account to his 5100 Account. Then on or about June 26, 2018,

Muiruri made a deposit of $180,000 by check drawn on the 5100 Account into the Defendant

4854 Account.

       171.     On or about June 28, 2018, Muiruri transferred $150,000 from the Defendant

4854 Account into another account held by Muiruri at Citizens Bank, account N9M-050552 (the

“0552 Account”).

                   oo. all funds on deposit in Citizens Bank account number N9M-050553,
                       held in the name of Ben Muiruri

       172.     On or about June 19, 2018, Muiruri opened three Citizen’s Advisory Solutions

Investment accounts at Citizens Bank, Account N9M050552 (the “0552 Account”), Account

N9M050553 (the “Defendant 0553 Account”) and Account N9M050554 (the “Defendant 0554

Account”). Muiruri is the only signer for each of these accounts.

       173.     It should be noted that the 0552 Account has a minimal balance remaining and is,

therefore, not included as a Defendant Account.

       174.     On or about June 27, 2018, Muiruri transferred the entire holdings of an account

he then held at TD Ameritrade to the 0552 Account, which was valued at approximately

$432,604.45. The transfer included more than $10,000 of fraud proceeds.




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       175.   On or about June 28, 2018, Muiruri transferred $150,000 from the Defendant

4854 Account, described in Section nn above, into the 0552 Account. Then, on or about July 10,

2018, Muiruri transferred the entire balance of the 0552 Account, except approximately $411.47,

to the Defendant 0553 and 0554 Accounts, which included equity investments and

approximately $126,233.70 in cash, to the Defendant 0553 Account. The value of the transfer to

Defendant 0553 Account was approximately $433,020.52 and included more than $10,000 of

fraud proceeds.

       176.   On or about October 10, 2018, another TD Ameritrade account was transferred to

the Defendant 0553 Account, a value of cash and investments of approximately $136,620.86,

and this transfer also included more than $10,000 of fraud proceeds.

                  pp. all funds on deposit in Citizens Bank account number N9M-050554,
                      held in the name of Ben Muiruri

       177.   On or about June 19, 2018, Muiruri opened the Defendant 0554 Account at

Citizens Bank and is the only signer on the account. On or about July 10, 2018, $149,584.84

was transferred from the 0052 Account to the Defendant 0554 Account, and the transfer included

more than $10,000 of fraud proceeds. .

                  qq. all funds on deposit in Northern Bank and Trust Company account
                      number 8137210800, held in the name of Arbor Homecare

       178.   On or about November 3, 2017, Muiruri opened two accounts in Arbor’s name at

Northern Bank & Trust Company, Business Express Checking Account 4763346802 (the

“Defendant 6802 Account”) and Business Money Market Account 8137210800 (the “Defendant

0800 Account”). On or about October 24, 2017, the three Arbor BOA Accounts were closed,

and the funds were used to purchase cashier’s checks:




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6382-1 Account, which contained more than $10,000 in fraud proceeds. Another $105,190.12

was deposited in 2016 and 2018, which is traceable to Arbor fraud proceeds.

                           IV.     FIRST CLAIM FOR FORFEITURE

        182.    The allegations contained in paragraphs 7 through 181 are incorporated herein.

        183.    Pursuant to 18 U.S.C. § 981(a)(1)(C), “any property, real or personal, which

constitutes or is derived from proceeds traceable,” to a violation of “specified unlawful activity” is

subject to forfeiture to the United States. 18 U.S.C. § 1347 (Health Care Fraud), 18 U.S.C. § 1349

(Conspiracy to Commit Health Care Fraud), and 18 U.S.C. § 371 (Conspiracy to Defraud the United

States (Related to a Healthcare Benefit Program)). Each of these offenses is a “Federal healthcare

offense,” pursuant to 18 U.S.C. § 24(a). In addition, each of these offenses is a “specified unlawful

activity” because each is “any act or activity constituting an offense involving a Federal health care

offense.” See 18 U.S.C. § 1956(c)(7)(F).

        184.    The Defendants in rem constitute “any property, real or personal, which constitutes or

is derived from proceeds traceable,” to a violation of “specified unlawful activity”, specifically, 18

U.S.C. § 1347 (Health Care Fraud), 18 U.S.C. § 1349 (Conspiracy to Commit Health Care Fraud),

and 18 U.S.C. § 371 (Conspiracy to Defraud the United States (Related to a Healthcare Benefit

Program)), and 42 U.S.C. § 1320a-7(b) (Offer and Payment of Kickbacks). Each of these offenses is

a “Federal healthcare offense,” pursuant to 18 U.S.C. § 24(a). In addition, each of these offenses is a

“specified unlawful activity” because each is “any act or activity constituting an offense involving a

Federal health care offense.” See 18 U.S.C. § 1956(c)(7)(F).

        185.    The Defendants in rem are subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C)

because there is probable cause to believe that the Defendants in rem constitute “any property, real or

personal, which constitutes or is derived from proceeds traceable,” to a violation of “specified

unlawful activity.”

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                          V.      SECOND CLAIM FOR FORFEITURE

          186.   The allegations contained in paragraphs 7 through 181, and 184, are incorporated

herein.

          187.   The Defendant Properties in rem are also subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(A) as “[a]ny property, real or personal, involved in a transaction or attempted transaction

in violation of [18 U.S.C. §§ 1956 and 1957] or any property traceable to such property.”

                                        VI.     CONCLUSION

WHEREFORE, the United States of America respectfully requests:

          1.     That a Warrant and Monition, in the form submitted herewith, be issued to the United

States Attorney’s Office and the Internal Revenue Service, commanding one or more of them to give

notice to all interested parties to appear and show cause why the forfeiture should not be decreed;

          2.     That judgment of forfeiture be decreed against the Defendant Properties in rem;

          3.     That thereafter, the Defendant Properties in rem be disposed of according to law; and

          4.     For costs and all other relief to which the United States may be entitled.


                                                         Respectfully submitted,

                                                         ANDREW E. LELLING
                                                         United States Attorney

Dated: January 28, 2021                          By:      /s/ DAVID G. LAZARUS
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